Case 2:05-CV-02353-.]DB-STA Document 26 Filed 08/31/05 Page 1 of 2 Page|D 36

IN THE UNITED STATES DISTRICT COURT

   

FoR THE WESTERN DISTRICT oF TENNESSEE F"£D B"’ __ o.c.
WESTERN DIVISION
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sECURlTY FIRE PROTECTION , ,
d£HFq'“'§”`?“-H' (MD
Plaimiff, W!;j_ § §.-‘:>\lp_§)]" £QUHT
~ -,_ ._.i_“j~,_r‘- _n'o
v. NO. 05-2353 B

ROBERT S. RUSSELL and
SOUTHERN FIRE & SECURITY, INC.,

Defendants.

 

 

ORDER WITHDRAW lNG ORDER TO SHOW CAUSE WI-IY DEFENDANT’S MOTION
TO DISMISS SHOULD NOT BE GRANTED

 

Before the Court is the Notice of Voluntary Dismissal filed by Plaintiff, Security Fire
Protection, on August 26, 2005. ln light of this Hling, the Court’s Order of August 29, 2005
ordering Plaintiff to show cause why Defendant’s motion to dismiss should not be granted is
hereby WITHDRAWN.

g’b
IT ls so oRDERED this '31 day ofAugu 5.

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.D NIEL BREEN \
UNI ED sTATEs DISTRICT JUDGE

 

'S,ATES DIS,TRICT OURT WESTERNDTISRIC OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CV-02353 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed

 

 

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Honorable J. Breen
US DISTRICT COURT

